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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                               )
                                                        )
                                                        )
    v.                                                  ) Crim. No. 22 - 133 - 02 (CKK)
                                                        )
                                                        )
 HAIDER ALI                                             )
                                                        )

        DEFENDANT’S MOTION TO RECOMMEND TRANSFER TO CTF
   AND MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

           COMES NOW Haider Ali, through undersigned counsel, and respectfully move this Court

 to recommend that he be transferred from the D.C. Jail to the Correctional Treatment Facility

 (“CTF”). In support of this motion defendant states as follows:

           Haider Ali was recently before the Court for sentencing based on the defendant’s plea to a

 three count superseding criminal Information charging him with: 1) conspiracy to commit fraud;

 2) bank fraud; and 3) possession of a large capacity ammunition feeding device.

          Mr. Ali had been on court supervision for more than 15 months under very strict home

incarceration conditions, and had been extremely compliant. The assigned PSA Officer

repeatedly confirmed Mr. Ali’s high level of compliance and regard for the Court’s

conditions. Probation recommended that he is a good candidate for self-surrender.
Nevertheless, government recommended that Mr. Ali be remanded pending his BOP

designation, and the Court granted that request. At that time, the Court also indicated that it

would be willing to recommend that Mr. Ali be held at the Correctional Treatment Facility

(“CTF”), rather than the D.C. Jail.

         Mr. Ali is currently being housed at the D.C. Jail. As the Court is aware, the D.C. Jail has

many inmates who are charged with very violent offenses. The D.C. Jail houses many inmates

are younger and more immature, and many of the inmates at the D.C. Jail are charged with

serious crimes of violence - including murder. There have been numerous violent inmate on

inmate assaults at the jail in recent years. The potential for incidents of violence is far greater at
the D.C. Jail
          Casethan at the Correctional Treatment
                 1:22-cr-00133-CKK      DocumentFacility (“CTF”).
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                                                             08/22/23  PageMarshal’s
                                                                            2 of 2 report

highlighted the many problems at the Jail. Moreover, according to a WUSA 9 report, over the

weekend there was another stabbing at the D.C. Jail resulting in the death of an inmate.

      Counsel would also note that Mr. Ali could be at greater risk of harm because of the

publicity about his involvement in impersonating a federal law enforcement officer. Thus,

counsel is requesting that the Court formally recommend that Mr. Ali be transferred forthwith to

the Correctional Treatment Facility, which does not house the more violent offenders.

Moreover, by Mr. Ali’s actions during the pendency of the case, he has demonstrated that he is an

appropriate individual to be housed at CTF.

       The government takes no position regarding the request for a recommendation that Mr.
Ali be transferred to CTF during the pendency of the BOP designation process.

        WHEREFORE, for all the reasons set forth above, the defendant respectfully requests

 that the Court recommend that Haider Ali (DCDC# 380787) be transferred FORTHWITH

 from the D.C. Jail to the Correctional Treatment Facility (“CTF”).

                                              Respectfully submitted,


                                                 /s/
                                              Howard B. Katzoff
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                                              Washington, D.C. 20004
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                               CERTIFICATE OF SERVICE

        I hereby certify that on the 22nd        day of    August         , 2023, a copy of the

 foregoing Motion was filed via the Electronic Court Filing System (ECF), causing a copy to be

 served electronically on government counsel of record.


                                                /s/
                                              Howard B. Katzoff
